     Case 1:09-cr-10166-MLW Document 669 Filed 09/23/11 Page 1 of 1



                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
                         )
     v.                  )                    Cr. No. 09-10166-MLW
                         )
SALVATORE F. DIMASI and )
RICHARD W. MCDONOUGH,    )
     Defendants.         )


                                 ORDER
WOLF, D.J.                                          September 23, 2011

     For the reasons described in detail in court on September 23,

2011, defendant Salvatore DiMasi's Motion for Bail Pending Appeal

(Docket No. 632) and defendant Richard McDonough's Motion for Bail

Pending Appeal (Docket No. 631) are hereby DENIED.




                                               /s/ Mark L. Wolf
                                         UNITED STATES DISTRICT JUDGE
